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13
                                   UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                        SAN FRANCISCO DIVISION
16
     JOHN DOE ONE; RICHARD ROE, in his               Case No. 3:18-CV-1031-EMC
17
     capacity as executor for JOHN DOE TWO;
18   JOHN DOE FOUR, in his personal capacity         PLAINTIFFS’ MEMORANDUM OF POINTS
     and as the authorized representative of         AND AUTHORITIES IN OPPOSITION TO
19   JOHN DOE THREE; and JOHN DOE                    DEFENDANTS’ MOTION TO DISMISS
     FIVE, on behalf of themselves and all           SECOND AMENDED COMPLAINT
20   others similarly situated and for the benefit
     of the general public,                          Date: April 21, 2022
21                                                   Time: 1:30 p.m. PT
22                  Plaintiffs,                      Courtroom 5, 17th Floor
                                                     Judge: Hon. Edward M. Chen
23          v.
24   CVS PHARMACY, INC.; CAREMARK,
25   L.L.C.; CAREMARK CALIFORNIA
     SPECIALTY PHARMACY, L.L.C.;
26   GARFIELD BEACH CVS, L.L.C.;
     CAREMARKPCS HEALTH, L.L.C.; and
27   DOES 1–10, inclusive,
28                  Defendants.

                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
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 1                            STATEMENT OF ISSUES TO BE DECIDED

 2           1.       Whether Plaintiffs have sufficiently alleged that “any part of” the health program

 3   or activity Defendants administer “is receiving federal financial assistance” where the Ninth Circuit

 4   Court of Appeals has already determined that Plaintiffs sufficiently allege exclusion, denial of

 5   benefits, and/or discrimination because of disability under a health program or activity in violation

 6   of Section 1557 of the Affordable Care Act (“ACA”). The Ninth Circuit’s decision was based on

 7   the limitations imposed by CVS Pharmacy, Inc.; Caremark, L.L.C.; Caremark California Specialty

 8   Pharmacy, L.L.C.; CaremarkPCS Health, L.L.C.; and Garfield Beach CVS, L.L.C. (collectively,

 9   “CVS Caremark” or “Defendants”) under their specialty medication program restricting Plaintiffs

10   to mail order-only delivery of their HIV medications with no access to consultations from a

11   pharmacist or other critical services.

12           2.       Whether Defendants’ failure to raise whether Plaintiffs sufficiently alleged a

13   “health program or activity” within the meaning of the ACA in their first Motion to Dismiss despite

14   having the ability to do so forecloses their ability to assert this claim now.

15           3.       Whether Plaintiffs should be granted leave to amend if the Court finds additional

16   details are needed.

17                                     PRELIMINARY STATEMENT

18           In Doe v. CVS Pharmacy, Inc., 982 F.3d 1204, 1211–12 (9th Cir. 2020), the Ninth Circuit

19   held that Plaintiffs sufficiently alleged that they are excluded from, denied the benefits of, and/or

20   subjected to discrimination under CVS Caremark’s health care prescription program, including

21   providing “medically appropriate dispensing of their medications and access to necessary

22   counseling,” in violation of Section 1557. Section 1557 makes it illegal to discriminate against

23   individuals based on, inter alia, their disability. Section 1557 expressly provides “an individual

24   shall not * * * be excluded from participation in, be denied the benefits of, or be subjected to

25   discrimination under, any health program or activity, any part of which is receiving Federal

26   financial assistance,” 42 U.S.C. § 18116(a) (emphasis added). Because the statute’s prohibition

27   extends to “‘any part’ of the health program or activity [that] receives Federal financial assistance,”

28   Section 1557 applies “even if only part of the health program or activity receives such assistance.”

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 1   81 Fed. Reg. 31375, 31385–86 (May 18, 2016) (emphasis added); see also Rumble v. Fairview

 2   Health Servs., No. 14-cv-2037 (SRN/FLN), 2015 WL 1197415, at *12 (D. Minn. Mar. 16, 2015)

 3   (“[A]s long as part of an organization or entity receives federal funding or subsidies of some sort,

 4   the entire organization is subject to the anti-discrimination requirements of Section 1557.”). At

 5   bottom, Section 1557 “conditions a health program or activity’s receipt of federal funds upon its

 6   consent to be subject to ‘the enforcement mechanisms provided for and available under’ the statutes

 7   listed in § 1557.” Kadel v. N.C. State Health Plan for Teachers & State Emps., 12 F.4th 422, 430

 8   (4th Cir. 2021), as amended (Dec. 2, 2021), cert. denied, 142 S. Ct. 861 (2022).

 9           Defendants assert Plaintiffs do not sufficiently allege that each of the Defendants are

10   engaged in “any health program or activity” and that pharmaceutical care is not a “health program

11   or activity” subjecting CVS Pharmacy, Inc. and its subsidiaries to liability under the ACA. They

12   did not preserve the ability to do so, however, as they never raised this specific issue in their motion

13   to dismiss the previous complaint, despite having the ability to do so. See Romo v. Wells Fargo

14   Bank, N.A., No. 15-cv-03708-EMC, 2016 WL 3523779, at *2 (N.D. Cal. June 28, 2016) (Chen, J.);

15   see also In re Apple iPhone Antitrust Litig., 846 F.3d 313, 318 (9th Cir. 2017), aff’d sub nom. Apple

16   Inc. v. Pepper, 139 S. Ct. 1514 (2019) (“Rule 12(g)(2) provides that a defendant who fails to assert

17   a failure-to-state-a-claim defense in a pre-answer Rule 12 motion cannot assert that defense in a

18   later pre-answer motion under Rule 12(b)(6).”).

19           While Defendants did not previously challenge whether dispensing prescription

20   medications and providing pharmaceutical services is a “health program or activity” in their first

21   Motion to Dismiss (Dkt. 87), it is undisputed that “[b]y extending” Section 1557’s

22   “nondiscrimination protections to individuals under ‘any health program or activity,’ Congress

23   intended to prohibit discrimination by any entity acting within the ‘health’ system.” Fain v. Crouch,

24   545 F. Supp. 3d 338, 342 (S.D.W. Va. 2021) (emphasis added). Such provisions are to be broadly

25   construed “[t]o honor Congress’ intent.” See Sharer v. Oregon, 581 F.3d 1176, 1178 (9th Cir. 2009)

26   (interpreting identical language in Section 504 of the Rehabilitation Act); see also 81 Fed. Reg. at

27   31385–86 (construing broadly Section 1557’s term “health program or activity”); Fain, 545 F.

28   Supp. 3d at 343 (same). Consistent with this Congressional intent, the term “health program or

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 1   activity” has been interpreted to “encompass all of the operations of entities principally engaged in

 2   the business of providing healthcare that receive Federal financial assistance.” 45 C.F.R. § 92.3(b).

 3            Plaintiffs alleged that CVS Health Corporation has already admitted that CVS Pharmacy,

 4   Inc. is in receipt of federal financial assistance for its activities. See Second Amended Complaint

 5   (“SAC”) ¶ 152; see also SAC ¶¶ 118–36. Defendants’ Motion to Dismiss, however, attempts to

 6   narrowly interpret, if not rewrite, the text of Section 1557 by replacing the term “any health program

 7   or activity” with the more limited term “entity” or “named defendant.” See CVS Mot. to Dismiss

 8   at 7–8. Section 1557 does not focus on the term “entity” but rather on “any health program or

 9   activity, any part of which is receiving Federal financial assistance.” Rumble, 2015 WL 1197415

10   at *12. Defendants’ restrictive interpretation of Section 1557 perverts the purpose of the statute. It

11   also conflicts with Ninth Circuit precedent recognizing that a “program or activity” need not be an

12   entity or a named defendant. See Barden v. City of Sacramento, 292 F.3d 1073, 1074 (9th Cir.

13   2002).

14            Thus, the only issue before the Court is whether “any part of” the “health program or

15   activity,” as alleged by Plaintiffs in paragraphs 104–36 and 152 of the SAC, “is receiving Federal

16   financial assistance.” 42 U.S.C. § 18116(a). The SAC includes detailed allegations on this point.

17   Since Plaintiffs’ pharmaceutical care is administered by Defendants through CVS Caremark’s

18   Pharmacy Services Segment and Retail/LTC (Long-Term Care) Segment and their corresponding

19   subsidiaries, and Defendants receive federal financial assistance in part under at least three separate

20   federal programs, this Court must deny Defendants’ Motion to Dismiss for at least two reasons.1

21            First, Plaintiffs allege that CVS Pharmacy, Inc. is an entity principally engaged in the

22   business of providing healthcare that receives significant amounts of federal financial assistance.

23   SAC ¶¶ 1, 130–36, 152. All Defendants are thus subject to Section 1557 because all the operations

24   of CVS Pharmacy, Inc., the parent company of the other defendants, constitute “a health program

25   or activity, any part of which is receiving Federal financial assistance” under Section 1557. See

26   1
      These two Segments, “which are components of CVS Health Corporation’s vertically integrated
27   pharmacy-PBM model, include retail and mail-order pharmacies and PBM services. Under CVS
     Caremark’s Pharmacy Services Segment and Retail/LTC Segment various aspects of
28   pharmaceutical care critical to Class Members’ health have been eliminated, including medically
     appropriate dispensing of their medications and access to necessary counseling.” SAC ¶ 130.
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 1   Callum v. CVS Health Corp., 137 F. Supp. 3d 817, 852 (D.S.C. 2015) (rejecting CVS Pharmacy,

 2   Inc.’s argument that it is not a “health program or activity” and denying its motion to dismiss a

 3   Section 1557 claim). Such allegations are sufficient to overcome Defendants’ Motion. See Melton

 4   by & through Mosier v. Cal. Dep’t of Dev. Servs., No. 20-cv-06613-YGR, 2021 WL 5161929, at

 5   *13–14 (N.D. Cal. Nov. 5, 2021) (analyzing sufficiency of “receipt of federal financial assistance”

 6   allegations and denying motion to dismiss); see also Campen v. Portland Adventist Med. Ctr., No.

 7   16-cv-00792-YY, 2016 WL 5853736, at *4 (D. Or. Sept. 2, 2016), report and recommendation

 8   adopted, No. 16-cv-00792-YY, 2016 WL 5858670 (D. Or. Oct. 5, 2016) (similar result, collecting

 9   cases). Thus, when CVS Pharmacy, Inc. accepted funds through Medicare Part D and other federal

10   health programs, such as the Medicaid 340B Program and the Ryan White HIV/AIDS Program, it

11   was bound to comply with Section 1557 in “all of [its] operations,” 45 C.F.R. § 92.3(b). SAC

12   ¶¶ 118–36. This includes its subsidiaries—Defendants Caremark, L.L.C.; Caremark California

13   Specialty Pharmacy, L.L.C.; CaremarkPCS Health, L.L.C.; and Garfield Beach CVS, L.L.C.—and

14   the Pharmacy Services Segment and Retail/LTC Segment through which Defendants administer

15   and control Plaintiffs’ pharmaceutical care.

16           Second, the SAC at ¶¶ 130–36 alleges that Defendants’ pharmaceutical care services as a

17   whole constitute a “health program or activity, any part of which is receiving Federal financial

18   assistance” under Section 1557. The pharmaceutical care services are provided by CVS Caremark’s

19   Pharmacy Services Segment and Retail/LTC Segment. CVS Caremark’s Pharmacy Services

20   Segment and Retail/LTC Segment—which all of the Defendants participate in the administration

21   of—receive federal financial assistance through Medicare Part D, the Medicaid 340B Program, and

22   the Ryan White HIV/AIDS Program. The Pharmacy Services Segment and Retail/LTC Segment

23   include retail and mail-order pharmacies, as well as pharmacy benefit managers. Plaintiffs allege

24   at ¶¶ 1, 105, 131–34 of the SAC that essential aspects of pharmaceutical care critical to their health

25   provided by these Defendants have been eliminated, including medically appropriate dispensing of

26   their HIV medications and access to necessary counseling. CVS Caremark’s argument that the term

27   “health program or activity” must be narrowly interpreted on an entity-by-entity basis finds no

28   support in the text of Section 1557 and conflicts with relevant caselaw. Indeed, Defendants do not

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 1   cite to this Court a single decision that supports this novel interpretation of Section 1557. Congress

 2   intended to reach these types of “health-related services” when it outlawed discrimination under

 3   “any health program or activity.” Callum, 137 F. Supp. 3d at 852; see also Fain, 545 F. Supp. 3d

 4   at 342. Thus, “if ‘any part’ of the health program or activity receives Federal financial assistance,”

 5   Section 1557 applies “even if only part of the health program or activity receives such assistance.”

 6   81 Fed. Reg. at 31386 (emphasis added). As each of the Defendants provide Plaintiffs with

 7   pharmaceutical services through this “health program or activity,” each Defendant is jointly and

 8   severally liable for the discriminatory conduct at issue here.

 9                                     FACTUAL BACKGROUND

10           CVS Caremark administers Plaintiffs’ prescription drug benefit through the employer-

11   sponsored health plans in which Plaintiffs are or were enrolled. CVS Caremark has established a

12   national network of pharmacies where consumers obtain their medications under the terms of their

13   healthcare plans that accounts for the vast majority of its revenue. SAC ¶¶ 1–3. CVS Pharmacy,

14   Inc. is the parent company of the other defendants and controls their actions as relevant to

15   administering Plaintiffs’ pharmaceutical care. See id. ¶ 135; see also CVS Mot. to Dismiss at 5 &

16   n.8. Contrary to CVS Caremark’s arguments (CVS Mot. to Dismiss at 1, 11), each of the Defendants

17   participate in the running of CVS Caremark’s Pharmacy Services Segment and Retail/LTC

18   Segment and are responsible for the discriminatory conduct at issue here. SAC ¶¶ 105, 130.

19   Specifically, Caremark California Specialty Pharmacy, L.L.C. and Caremark, L.L.C. distribute

20   HIV medications solely by mail and fail to provide necessary pharmacy care that other, non-

21   disabled members have access to. See, e.g., id. ¶¶ 1, 15, 70, 79–80, 86. Caremark, L.L.C. and its

22   subsidiary CaremarkPCS Health, L.L.C. developed the medication “formulary” list that causes HIV

23   medication to be subject to Defendants’ discriminatory pharmacy program. Id. ¶¶ 16, 95, 135.

24   Garfield Beach CVS, L.L.C. owns and operates CVS retail pharmacies in California where

25   Plaintiffs are deprived access to medications and pharmacy services available to other, non-disabled

26   members. Id. ¶¶ 17, 136.

27           CVS Health Corporation, rather than make publicly available financial reporting for its

28   subsidiaries, publishes consolidated financial reports broken down by its different “segments,”

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 1   stating the revenues and operating income for each. See id. ¶¶ 118, 119, 121–30, 134. The combined

 2   revenues of the Pharmacy Services and Retail/LTC Segments account for approximately 75% of

 3   CVS Health Corporation’s total revenues. See id. ¶¶ 122, 128–29.

 4            Plaintiffs allege that CVS Pharmacy, Inc.—the parent company of the other Defendants2—

 5   receives significant amounts of federal financial assistance through Medicare Part D, the Medicaid

 6   340B Program, and the Ryan White HIV/AIDS Program; is an entity principally engaged in the

 7   business of providing healthcare; and is responsible for administering Plaintiffs’ pharmaceutical

 8   care. See SAC ¶¶ 118–22, 124–127, 130–36, 152. Plaintiffs also allege that the operations of CVS

 9   Pharmacy, Inc. include the Pharmacy Services Segment and Retail/LTC Segment through which

10   Defendants administer Plaintiffs’ pharmaceutical care (id. ¶¶ 130–34) and that CVS Caremark’s

11   Pharmacy Services and Retail/LTC Segments receive federal financial assistance in the form of

12   Medicare Part D, the Medicaid 340B Program, and the Ryan White HIV/AIDS Program. Id.

13   ¶¶ 131–36. The Ryan White Comprehensive AIDS Resources Emergency Act, 42 U.S.C. §§ 300ff,

14   et seq., is a federal funding program designed to provide care and treatment to low-income people

15   living with HIV/AIDS through grants to states and other public and private entities.

16            Plaintiffs allege that before CVS Caremark unilaterally made Plaintiffs’ HIV medications

17   subject to mail order through the “specialty medication program” (the “Program”), Plaintiffs could

18   access the full range of pharmaceutical care services offered by CVS Caremark to other enrollees.

19   CVS Pharmacy, Inc., 982 F.3d at 1207–08. Plaintiffs could obtain their HIV medications from any

20   participating in-network pharmacies and pharmacists, including from non-CVS pharmacies that

21   employ pharmacists who are knowledgeable about their medical history, specialize in HIV

22   medications, and “could make adjustments to their medication to avoid dangerous drug interactions

23   or remedy potential side effects.” Id. “[T]hese services, among others, are critical to HIV patients,

24   who must maintain a consistent medication regimen to manage their chronic disease.” Id. at 1207.

25   Under the Program, however, Plaintiffs must now obtain HIV medications to treat their disability

26   exclusively by mail order for those benefits to be considered “in-network” and forego essential

27
     2
      Defendants concede that CVS Pharmacy, Inc. is the parent company of Caremark, L.L.C.;
28   Caremark California Specialty Pharmacy, L.L.C.; CaremarkPCS Health, L.L.C.; and Garfield
     Beach CVS, L.L.C. See CVS Mot. to Dismiss at 5 & n.8.
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 1   services. Other individuals who do not have disabilities may still access the full range of

 2   pharmaceutical care services and may obtain their prescriptions from any in-network pharmacy,

 3   including non-CVS pharmacies. As a result, due to the way this pharmaceutical care is administered

 4   by Defendants, Plaintiffs are denied meaningful access to the benefits provided and that they rely

 5   on to sustain their lives. By reason of their disability, they thus have an unequal opportunity to

 6   utilize the pharmaceutical care services administered by Defendants for all plan enrollees. SAC

 7   ¶¶ 1–3, 69–80; see also CVS Pharmacy, Inc., 982 F.3d 1204.3

 8                                      PROCEDURAL HISTORY

 9              On February 16, 2018, Plaintiffs filed a complaint against Defendants CVS Health

10   Corporation; CVS Pharmacy, Inc.; CaremarkRx, L.L.C.; Caremark, L.L.C.; Caremark California

11   Specialty Pharmacy, L.L.C.; and Amtrak, alleging that their conduct administering Plaintiffs’

12   pharmaceutical care violated Section 1557 and other federal statutes, as well as California’s Unfair

13   Competition Law (“UCL”) and Unruh Civil Rights Act. Dkt. 1. At Defendants’ request, Plaintiffs

14   voluntarily dismissed CVS Health Corporation and CaremarkRx, L.L.C., see Dkt. 63, and

15   subsequently amended their complaint adding Time Warner, Inc. and Lowes Companies as

16   defendants and further allegations of discrimination and other unlawful conduct by Defendants.

17   Dkt. 75.

18              In December 2018, this Court granted Defendants’ motion to dismiss Plaintiffs’ First

19   Amended Complaint, concluding, inter alia, that Plaintiffs failed to adequately allege a claim under

20   Section 1557 and California’s UCL. Though Defendants asserted that Plaintiffs failed to adequately

21   allege receipt of “Federal financial assistance,” the Court did not address this issue. Moreover,

22   Defendants’ motion raised no issue with whether Plaintiffs sufficiently alleged a “health program

23   or activity” within the meaning of the ACA. See Dkt. 87, 143.

24              On appeal, in December 2020 the Ninth Circuit concluded, consistent with the Supreme

25
     3
       Meaningful access requires “any health program or activity, any part of which is receiving Federal
26   financial assistance” to “afford [disabled persons] equal opportunity to obtain the same result” or
     “to gain the same benefit” as the non-disabled. 45 C.F.R. § 84.4(b)(2) (emphasis added). See also
27   Alexander v. Choate, 469 U.S. 287, 304 (1985) (construing Section 504 to require “evenhanded
     treatment and the opportunity for handicapped individuals to participate in and benefit from
28   programs receiving federal financial assistance”); CVS Pharmacy, Inc., 982 F.3d at 1210–12
     (same).
                                                     -7-
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 1   Court’s opinion in Alexander v. Choate, 469 U.S. 287 (1985), that a violation of Section 504 of the

 2   Rehabilitation Act, as incorporated into Section 1557, may occur where a disabled person is denied

 3   meaningful access to a benefit to which they are entitled. CVS Pharmacy, Inc., 982 F.3d at 1210–

 4   12. In doing so, the panel held that Plaintiffs sufficiently stated a disability discrimination claim

 5   under Section 1557 on allegations that “the structure and implementation of the Program”

 6   discriminates against Plaintiffs by preventing them “from obtaining the same quality of

 7   pharmaceutical care that non-HIV/AIDS patients may obtain in filling non-specialty prescriptions,

 8   thereby denying them meaningful access to their prescription drug benefit.” Id. at 1211. The Ninth

 9   Circuit also clarified that “the nature of the benefit” Plaintiffs allege they are denied meaningful

10   access to is “the prescription drug benefit as a whole[,]” and that it goes beyond mere plan design

11   to encompass “medically appropriate dispensing of their medications and access to necessary

12   counseling.” Id. at 1210–11.

13           Following remand, in March 2021, Plaintiffs filed a Second Amended Complaint.

14   Dkt. 162. Plaintiffs added allegations concerning CVS Caremark’s receipt of federal financial

15   assistance—the issue the Ninth Circuit ordered this Court to examine on remand—and named two

16   additional CVS subsidiaries as defendants, describing their roles in the wrongdoing at issue. That

17   same month, Defendants filed a Petition for Writ of Certiorari with the U.S. Supreme Court

18   (Dkt. 168), which was granted on July 2, 2021. CVS Caremark subsequently dismissed their Writ

19   of Certiorari in November 2021. Dkt. 177.

20                          STANDARDS APPLICABLE TO THIS MOTION

21           Under Federal Rule of Civil Procedure 12(b)(6), the court “accept[s] factual allegations in

22   the complaint as true and construe[s] the pleadings in the light most favorable to the nonmoving

23   party.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). To

24   survive a motion to dismiss, a complaint need only “contain sufficient factual matter, accepted as

25   true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

26   (2009) (citation omitted). Thus, a complaint need only “plead[] factual content that allows the court

27   to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

28

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 1            CVS Caremark cannot (as they try to do here) rebut Plaintiffs’ allegations with their own

 2   factual assertions concerning the conduct of certain Defendants, or which CVS entities receive

 3   “federal financial assistance” based on CVS Health Corporation’s Form 10-K, as such “factual

 4   challenges to [the] complaint have no bearing on the legal sufficiency of the allegations under Rule

 5   12(b)(6).” Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).4

 6            In addition, where a party has filed a motion to dismiss on numerous grounds, it cannot

 7   file another motion to dismiss on a ground that could have been raised as part of the original motion,

 8   but was not. See Romo, 2016 WL 3523779, at *2 (Chen, J.) (rejecting defendant’s newly asserted

 9   argument, and collecting similar cases).

10                                              ARGUMENT

11            Through the enactment of Section 1557, Congress sought to prevent healthcare

12   discrimination by any health program, healthcare entity, or activity that receives federal funding.

13   See, e.g., Mead v. Holder, 766 F. Supp. 2d 16, 19 (D.D.C. 2011) (explaining that the ACA was

14   designed to remedy disparate access to health care rooted, in part, on discrimination based on

15   wealth and preexisting conditions). Section 1557 prohibits discrimination “on the ground

16   prohibited under” Section 504 of the Rehabilitation Act (disability) by “any health program or

17   activity, any part of which is receiving Federal financial assistance, including credits, subsidies,

18   or contracts of insurance,” 42 U.S.C. § 18116(a) (emphasis added). “These prohibitions sweep

19   broadly.” Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Human Servs., 485 F. Supp. 3d

20   1, 12 (D.D.C. 2020), appeal dismissed sub nom., No. 20-5331, 2021 WL 5537747 (D.C. Cir.

21   Nov. 19, 2021). Consistent with Congressional intent, the term “health program or activity” is to

22   be interpreted broadly, “encompass[ing] all of the operations of entities principally engaged in the

23   business of providing healthcare that receive Federal financial assistance.” 45 C.F.R. § 92.3(b)
     4
24     Relatedly, Defendants assert that Plaintiffs must allege on a defendant-by-defendant basis receipt
     of federal financial assistance. Although this argument is contrary to the plain language of Section
25   1557, see infra, if the Court accepts CVS Caremark’s contention that allegations of this nature are
     necessary at the motion to dismiss stage, discovery must be allowed on this issue, because such
26   specific financial information at the CVS subsidiary level is not publicly available. See Declaration
     of Daniel L. Sternberg (“Sternberg Decl.”) at ¶ 1. As Plaintiffs have not been “given a reasonable
27   opportunity to present all the material that is pertinent” in response to the matters Defendants have
     presented outside the pleadings, Fed. R. Civ. Proc. 12(d), Defendants’ factual allegations must be
28   excluded by the Court. It is not proper at this stage of the proceeding for the court to summarily
     treat Defendants’ Motion “as one for summary judgment under Rule 56.” Id.
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 1   (emphasis added); see also 81 Fed. Reg. at 31385–86 (explaining that a narrow interpretation of

 2   Section 1557 to “apply only to specific health program for which the entity receives Federal

 3   financial assistance” conflicts with plain meaning of the statute).

 4            The Department of Health and Human Services (“HHS”) rulemaking implementing

 5   Section 1557 adopted in 2016 (“2016 Rule”), 81 Fed. Reg. 31375, is relevant here despite

 6   subsequent Section 1557 rulemaking cited by Defendants (“2020 Rule”), 85 Fed. Reg. 37160.5

 7            I.       Defendants’ Newly Asserted Argument Challenging Whether Plaintiffs
                       Sufficiently Alleged a “Health Program or Activity” Within the Meaning of
 8                     the ACA Is Foreclosed by Both Fed. R. Civ. Proc. 12(g) and the Ninth
                       Circuit’s Earlier Decision in This Action.
 9
              As a threshold matter, the only argument that could be raised on remand is that Plaintiffs
10
     did not adequately allege Defendants as a whole received “federal financial assistance.” The Ninth
11
     Circuit acknowledged in a footnote of its ruling that “CVS argues . . . [Plaintiffs] did not adequately
12
     allege CVS’s receipt of ‘federal financial assistance,’” and directed the Court to “address this issue
13
     on remand in the first instance.” CVS Pharmacy, Inc., 982 F.3d at 1212 n.2. Defendants did not
14
     previously raise, however, whether Plaintiffs sufficiently alleged a “health program or activity”
15
     within the meaning of the ACA and did not argue that the operative Complaint failed to allege that
16
     Defendants were operating “a health program or activity” under the ACA. Thus, Defendants did
17
     not preserve for argument before this Court the issue they raise now—whether the operative
18
     Complaint sufficiently alleged that Defendants operate “any health program or activity, any part of
19
     which is receiving Federal financial assistance.” This argument cannot be presented in this Motion
20
     5
       The 2020 Rule does not repeal or cast doubt on the provisions of the 2016 Rule interpreting the
21   federal financial assistance requirement under Section 1557. See generally Religious Sisters of
     Mercy v. Azar, 513 F. Supp. 3d 1113, 1128–29 (D.N.D. 2021) (explaining that the main differences
22   between 2016 Rule and 2020 Rule are (i) elimination of blanket coverage of health insurers,
     (ii) removing “prohibition on categorical gender-transition exclusions,” and (iii) explicitly listing
23   “religious freedom and conscience provisions that would override application of Section 1557 in
     some circumstances”). Thus, none of the issues that were the subject of the 2020 Rule are relevant
24   for purposes of this Motion. Moreover, the 2020 Rule also cannot be read to narrow unambiguous
     statutory language contained within the statute, as Defendants request this Court do, as any such
25   narrowing would constitute an unlawful exercise of legislative power by an administrative agency.
     See generally Fain, 545 F. Supp. 3d at 341 (declining to grant Chevron deference to the elimination
26   of blanket coverage of health insurers under the 2020 Rule). Finally, even if the 2020 Rule worked
     a wholesale change in the scope of Section 1557, that would still not be dispositive of Plaintiffs’
27   claims, as there is no indication that the 2020 Rule would or should be retroactively applied, and
     this case was filed two years before that Rule was amended. See generally Reyes v. Garland, 11
28   F.4th 985, 991 (9th Cir. 2021) (Agency rules “are construed to apply only prospectively (unless
     Congress has expressly authorized it to promulgate a retroactively applicable rule).”).
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 1   to Dismiss. See Romo v. Wells Fargo Bank, N.A., No. 15-cv-03708-EMC, 2016 WL 3523779, at

 2   *2 (N.D. Cal. June 28, 2016) (Chen, J.); see also ISE Entm’t Corp. v. Longarzo, No. 17-cv-9132-

 3   MWF-JCX, 2018 WL 5298692, at *4 (C.D. Cal. Apr. 16, 2018) (“Courts commonly invoke Rule

 4   12(g)(2) to reject new arguments raised in a motion to dismiss an amended complaint that could

 5   have been raised in a previous motion to dismiss a prior complaint but were not.”).

 6           Even if Defendants could make this argument, it has been foreclosed by the Ninth Circuit’s

 7   decision in this action. Specifically, the Ninth Circuit concluded that Plaintiffs have already

 8   satisfied any requirement to plead conduct engaged in by Defendants as a whole that has caused

 9   Plaintiffs to “be excluded from participation in, be denied the benefits of, or be subjected to

10   discrimination.” See CVS Pharmacy, Inc., 982 F.3d at 1207–08, 1210–12. Thus, the only remaining

11   question before this Court, according to the Ninth Circuit, is the sufficiency of Plaintiffs’ allegations

12   relating to “CVS’s receipt of ‘federal financial assistance,’” as alleged in paragraphs 121, 123, 124,

13   128–36 of the SAC. Plaintiffs have cleared this final hurdle.

14           II.     Plaintiffs Have Sufficiently Alleged Receipt of Federal Financial Assistance,
                     Making CVS Pharmacy, Inc. and the Other CVS Defendants Subject to
15                   Section 1557 for the Discriminatory Conduct Alleged by Plaintiffs.

16           As a recipient of federal financial assistance through Medicare Part D, the Medicaid 340B

17   Program, and the Ryan White HIV/AIDS Program, CVS Pharmacy, Inc. must comply with Section

18   1557 in “all of [its] operations,” 45 C.F.R. § 92.3(b), as an entity “principally engaged in the

19   business of providing healthcare” under the ACA. Id. The SAC at ¶¶ 118–36, 152 includes such

20   detailed allegations. “[A]ll of the operations of” CVS Pharmacy, Inc. includes its subsidiaries,

21   which as alleged in the SAC at ¶¶ 118–36 includes the other defendants, as well as the Pharmacy

22   Services Segment and Retail/LTC Segment through which Defendants administer and control

23   Plaintiffs’ pharmaceutical care. Such application of HHS’s regulations interpreting Section 1557

24   should be undisputed, as “‘[a]ll operations’ means ‘all operations,’ after all.” T.S. by & through

25   T.M.S. v. Heart of CarDon, LLC, No. 20-cv-01699-TWP-TAB, 2021 WL 981337, at *9 (S.D. Ind.

26   Mar. 16, 2021), reconsideration denied, motion to certify appeal granted, No. 20-cv-01699-TWP-

27   MG, 2021 WL 2946447 (S.D. Ind. July 14, 2021).

28

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                      A.         Plaintiffs Have Sufficiently Alleged CVS Pharmacy, Inc. Is
 1                               Principally Engaged in the Business of Providing Healthcare and Is
                                 Responsible for Administering Plaintiffs’ Pharmaceutical Care; in
 2
                                 Any Event Defendants Cannot Raise This Argument Here.
 3            Defendants do not seriously contest that Plaintiffs have sufficiently alleged CVS
 4   Pharmacy, Inc. is an entity “principally engaged in the business of providing healthcare that
 5   receives Federal financial assistance” such that “all of its operations” are subject to Section 1557.
 6   45 C.F.R. § 92.3(b); see also 42 U.S.C. § 18116(a). Rather, contradicting the allegations of the
 7   SAC and going far beyond the limits of a motion to dismiss, Defendants assert in conclusory fashion
 8   that CVS Pharmacy, Inc.; Garfield Beach CVS, L.L.C.; and California Specialty Pharmacy, L.L.C.
 9   are not responsible for the discriminatory conduct Plaintiffs challenge and thus are not “entities
10   principally engaged in the business of providing healthcare that receive Federal financial
11   assistance.” See CVS Mot. to Dismiss at 9–11. Notwithstanding that this argument was foreclosed
12   by the Ninth Circuit decision in this case, it has also already been rejected by other courts. In
13   Callum, just as here, defendants CVS Pharmacy, Inc. and its subsidiary South Carolina CVS
14   Pharmacy, L.L.C. moved to dismiss a Section 1557 claim, arguing they were not “a health program
15   or activity” under the ACA. Callum, 137 F. Supp. 3d at 852.6 Rejecting their argument that Section
16   1557’s term “health program or activity” was limited to health insurance or medical care in a
17   hospital or doctor’s office, the court held that pharmacy services were a “health program or
18   activity,” and that as a result CVS Pharmacy, Inc. and its subsidiaries were subject to liability under
19   the statute. Id. at 853.7
20            Thus, CVS Pharmacy, Inc. is subject to the nondiscrimination requirements of Section
21   1557 and both it and its subsidiaries are proper Defendants in this litigation. See Callum, 137 F.
22   Supp. 3d at 848–49; see also SAC ¶ 152 (CVS Health Corporation explicitly acknowledges that its
23
     6
24     South Carolina CVS Pharmacy, L.L.C. is an entity that operates CVS retail pharmacies in that
     specific state, as is true for Defendant Garfield Beach CVS, L.L.C. here in California. See Callum,
25   137 F. Supp. 3d at 835–36; see also SAC ¶ 136; CVS Mot. to Dismiss at 5.
     7
       Defendants’ argument that the analysis in Callum is not persuasive should be rejected. It is of no
26   consequence that Callum relied on language from the 2016 Rule “presuming ‘retail pharmacies’
     qualify as entities covered by Section 1557,” see Callum, 137 F. Supp. 3d at 853 (citing 80 Fed.
27   Reg. 54172, 54185, 54215–16 (Sept. 8, 2015)), because the 2020 Rule adopted this same
     “presum[ption]”—that pharmacies are a “health program or activity” subject to Section 1557. See
28   85 Fed. Reg. 37160, 37210 (June 19, 2020) (discussing the administrative burden placed on
     pharmacies under both the 2016 and 2020 Rules).
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 1   subsidiary Defendant CVS Pharmacy, Inc. is subject to Section 1557); CVS Mot. to Dismiss at 5

 2   & n.8 (conceding that the other defendants are subsidiaries of CVS Pharmacy, Inc.). The SAC

 3   sufficiently alleges that CVS Pharmacy, Inc. is principally engaged in the business of providing

 4   healthcare and is responsible for administering Plaintiffs’ pharmaceutical care. Indeed, Defendants

 5   acknowledge that in general retail and mail-order pharmacies are, objectively, health-related

 6   services, and fall within the plain meaning of Section 1557’s term “health program or activity.” See

 7   CVS Mot. to Dismiss at 10, n.11 (quoting Cal. Bus. & Prof. Code § 405(b) (Pharmacies provide

 8   “patient-oriented health service . . . to improve and promote patient health by means of appropriate

 9   drug use, drug-related therapy, and communication for clinical and consultative purposes.”); see

10   also id. at 5, n.8. Plaintiffs have extensively alleged CVS Pharmacy, Inc.’s role providing health

11   care services, identifying many examples of programs that CVS Pharmacy, Inc. offers that indicate

12   it is principally engaged in providing health care services, and citing to numerous instances where

13   the entity has characterized itself, its programs, and its subsidiary defendants as a health care

14   service. See SAC ¶¶ 118–36. Plaintiffs’ allegations here are sufficient to conclude for purposes of

15   this Motion that Defendant CVS Pharmacy, Inc. and its subsidiary Defendants conduct a “health

16   program or activity, any part of which is receiving Federal financial assistance.” See 42 U.S.C.

17   § 18116(a).

18                   B.      Plaintiffs Sufficiently Allege That CVS Pharmacy, Inc.’s Relevant
                             Operations Receive Federal Financial Assistance.
19
             Based on the scope of the Ninth Circuit’s ruling, to defeat this Motion to Dismiss it is
20
     sufficient for Plaintiffs to simply allege receipt of federal financial assistance by “any part of” the
21
     “health program or activity” conducted by Defendants. See e.g., Campen, 2016 WL 5853736, at
22
     *4; Melton by & through Mosier, 2021 WL 5161929, at *13–14, see also Smith v. Tobinworld, No.
23
     16-cv-01676-RS, 2016 WL 3519244, at * 4 (N.D. Cal. June 28, 2016) (denying motion to dismiss
24
     claim where plaintiff alleged “[u]pon information and belief” that defendant “receives substantial
25
     direct and indirect federal funding assistance”) (alteration in original). The SAC’s allegations on
26
     this point are much more detailed than in those matters. See SAC ¶¶ 121, 123, 124, 130–36 (alleging
27
     receipt of federal financial assistance in the form of Medicare Part D, the Medicaid 340B Program,
28
     and the Ryan White HIV/AIDS Program).
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 1            Plaintiffs sufficiently allege that the primary activities of CVS Pharmacy, Inc. are

 2   providing health care services, that they have received millions, if not billions, of dollars in

 3   furtherance of these activities, and therefore “all of [its] operations” must adhere to Section 1557.

 4   Plaintiffs allege that each of the other Defendants, and Plaintiffs’ pharmaceutical care which they

 5   administer, are part of the “operations” of CVS Pharmacy, Inc., “any part of which is receiving

 6   Federal financial assistance.” See T.S. by & through T.M.S., 2021 WL 981337, at *9 (holding that

 7   ERISA benefit plan defendant was subject to Section 1557 as part of the “operations” of a separate

 8   entity, the ERISA plan sponsor defendant); see also Sharer, 581 F.3d at 1178; Furgess v. Pa. Dep’t

 9   of Corr., 933 F.3d 285, 289 (3d Cir. 2019) (interpreting Section 504’s term “all of the operations

10   of” to mean “‘all-encompassing’” and characterizing as “‘extremely broad in scope’”);

11   Schroeder v. City of Chicago, 927 F.2d 957, 962 (7th Cir. 1991) (Posner, J.) (similar). This

12   interpretation is consistent with the ACA’s central statutory objective of expanding access to health

13   care by eliminating various barriers to coverage, see Schmitt v. Kaiser Found. Health Plan of Wash.,

14   965 F.3d 945, 954–55 (9th Cir. 2020), and, therefore, Plaintiffs have alleged that CVS Caremark is

15   properly subject to Section 1557.8

16            Had HHS interpreted Section 1557 to require a more limited meaning of the term

17   “operations” it would have said as much. See cf. 85 Fed. Reg. at 37207–08 & n.267 (explaining

18   Title IX’s religious exemption carves out specific subsets of “operation[s] of an entity” otherwise

19   subject to Section 1557). Defendants do not and cannot point to a similar exemption for the

20   “operations” of CVS Pharmacy, Inc. Moreover, Plaintiffs’ interpretation of Section 1557 “serves

21   the central purposes of the ACA, and effectuates Congressional intent, by ensuring that entities

22   principally engaged in health services . . . do not discriminate in any of their programs and activities,

23   thereby enhancing access to services and coverage.” 81 Fed. Reg. at 31386.
     8
24     Nothing in Vang v. State Farm Mut. Auto. Ins. Co., No. 20-cv-1260-JES-TSH, 2021 WL 5761002
     (C.D. Ill. Dec. 3, 2021) compels this Court to conclude otherwise. Defendants mischaracterize the
25   holding in Vang, implying that the court established a blanket rule that allegations concerning the
     receipt of federal financial assistance by a subsidiary are insufficient to support a Section 1557
26   claim. See CVS Mot. to Dismiss at 7. That court, however, decided the limited issue of whether
     “Section 1557 of the ACA extends to automobile insurance,” which it concluded, unsurprisingly,
27   it does not. Vang, 2021 WL 5761002, at *13. Because the plaintiffs failed to allege discrimination
     “occurred under a “health program or activity,” id. at *11 (emphasis added), allegations that State
28   Farm’s subsidiary received federal financial assistance for healthcare policies were not sufficient
     to state a claim. Id. at *12.
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             III.    The SAC Also Sufficiently Alleges That the Plaintiffs’ Pharmaceutical Care
 1                   as Provided Through CVS Caremark’s Pharmacy Services and Retail/LTC
                     Segments Is a “Health Program or Activity” That “Is Receiving Federal
 2
                     Financial Assistance.”
 3           Plaintiffs have also pled facts sufficient to allege CVS Caremark’s Pharmacy Services
 4   Segment and Retail/LTC Segment are subject to Section 1557’s prohibitions. These allegations
 5   provide the Court an independent alternative basis to deny Defendants’ Motion.
 6                   A.      The “Health Program or Activity” Allegations Are Sufficient.
 7           The SAC at ¶¶ 124, 128–33 alleges why Defendants’ administration of Plaintiffs’
 8   pharmaceutical care is a “health program or activity” subject to Section 1557 that is carried out by
 9   CVS Caremark’s Pharmacy Services Segment and Retail/LTC Segment. Through this “health
10   program or activity,” each of the Defendants plays an integral role in carrying out Plaintiffs’
11   pharmaceutical care, making them jointly and severally responsible for the discriminatory conduct
12   at issue here. The Pharmacy Services Segment and Retail/LTC Segment directly provide patient-
13   care services. See id. In particular, the Pharmacy Services Segment “provides a full range of
14   pharmacy benefit management solutions, including . . . mail order pharmacy, specialty pharmacy
15   and infusion services, clinical services, [and] disease management services.” Id. ¶ 132. Over two
16   billion prescriptions are managed or filled, and millions of people are “serve[d] in its retail
17   pharmacy locations.” Id. ¶ 127. And the Retail/LTC Segment “sells prescription drugs [], provides
18   health care services [], provides medical diagnostic testing, [and] administers vaccinations.” Id.
19           These types of health-related services are exactly what Congress intended to reach when it
20   outlawed discrimination under “any health program or activity.” Callum, 137 F. Supp. 3d at 852.
21   Being that tens of millions of Americans visit and interact with a pharmacy every day as part of the
22   coverage they receive under their health insurance, to exclude pharmacies or pharmacy benefits
23   from the definition of “any health program or activity” would eliminate one of the primary
24   connections to the health care system people routinely interact with—and thus where they are most
25   likely to experience discrimination. See 85 Fed. Reg. at 37172 (citing to 5 U.S.C. § 5371 and 45
26   C.F.R. § 160.103, which broadly define healthcare as direct patient-care services; services incident
27   to direct patient-care services; and supplies related to the health of an individual, including the sale
28   or dispensing of a drug, device, equipment, or other item in accordance with a prescription); see

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 1   also 81 Fed. Reg. at 31385–86 (a broad interpretation of “health program or activity” is appropriate

 2   in light of Section 1557’s remedial purpose). “[A]s the gatekeeper” to Plaintiff’s “health services,”

 3   CVS Caremark’s Pharmacy Services Segment and Retail/LTC Segment must necessarily “qualif[y]

 4   as a ‘health program’ that Congress intended to rid of discrimination.” Fain, 545 F. Supp. 3d at

 5   342.

 6                   B.      The “Federal Financial Assistance” Allegations Are Sufficient.
             Because “[r]eceipt of ‘federal financial assistance can be direct or indirect,” A.B. by C.B. v.
 7
     Haw. State Dep’t of Educ., 386 F. Supp. 3d 1352, 1355 (D. Haw. 2019) (quoting Sharer, 581 F.3d
 8
     at 1181), Plaintiffs sufficiently allege the receipt of federal financial assistance by CVS Caremark’s
 9
     Pharmacy Services and Retail/LTC Segments. The SAC ¶¶ 130–36 alleges in detail how CVS
10
     Caremark’s Pharmacy Services Segment and Retail/LTC Segment receive federal financial
11
     assistance in the form of Medicare Part D and other federal health programs. Specifically,
12
     “Pharmacy revenues represented approximately three-fourths of” the Retail/LTC Segments’
13
     revenues, and that revenue comes, in part, from Medicare Part D, the Medicaid 340B Program, and
14
     the Ryan White HIV/AIDS Program. Id. ¶ 134–136. Federal financial assistance also flows to the
15
     Pharmacy Services Segment in the form of payments under Medicare Part D. Id.
16
             This is all that is required to assert a claim under the ACA. See A.B. by C.B., 386 F. Supp.
17
     3d at 1356 (denying motion to dismiss and rejecting argument that plaintiffs were required to allege
18
     that federal funds were “earmarked” for specific purposes of the defendant). Thus, “even if only
19
     part of the health program or activity receives such assistance,” 81 Fed. Reg. at 31385–86, Section
20
     1557’s prohibition applies to CVS Caremark’s Pharmacy Services and Retail/LTC Segments.
21
             IV.     Defendants’ Arguments Rely on an Unreasonably Restrictive Reading of
22                   Section 1557 and Its Promulgated Regulations.
23           In support of their argument that Plaintiffs’ allegations concerning the interlocking
24   structure of CVS Health Corporation, its subsidiaries, and the Pharmacy Services and Retail/LTC
25   Segments are “irrelevant,” CVS Caremark’s attempt to rewrite the statutory term “health program
26   or activity” contained within Section 1557 is improper. They cannot re-craft their own definition
27   to equate these terms with the terms “entities” and “entity” found in 45 C.F.R. § 92.3. See CVS
28   Mot. to Dismiss at 7–8.
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 1           CVS Caremark’s argument that the term “health program or activity” must be narrowly

 2   interpreted as applying to a single “entity” finds no support in the text of Section 1557, and conflicts

 3   with relevant caselaw. Under CVS Caremark’s contrary narrow interpretation, a corporate

 4   defendant could avoid liability under Section 1557 simply by dividing applicable health programs

 5   and activities across multiple subsidiary defendants, and then requiring plaintiffs to play “whack-

 6   a-mole” to figure out which subsidiaries conducted what services and which subsidiaries received

 7   what Federal financial assistance—at the pleadings stage. Such a reading would frustrate the broad

 8   remedial purpose of the ACA and Section 1557 to increase access to quality, affordable health care

 9   and to eradicate arbitrary barriers to such access, including discrimination. See King v. Burwell,

10   576 U.S. 473, 478 (2015). Moreover, it is well accepted under other anti-discrimination statutes

11   that the “program or activity” at issue must be interpreted “broadly,” Sharer, 581 F.3d at 1178. It

12   also need not be an entity. See Barden, 292 F.3d at 1074, 1076 (finding that the program or activity

13   challenged under Section 504 was city sidewalks); see also Quinones v. UnitedHealth Grp. Inc.,

14   No. 14-cv-00497-LEK-RLP, 2015 WL 6159116, at *3 (D. Haw. Oct. 19, 2015) (“Section 504

15   prohibits entities and programs that receive federal funding from discriminating against individuals

16   based on their disability status”) (emphasis added). And because “program or activity” cannot be

17   equated to “entity,” neither must it be equated solely to a specific named defendant. See Barden,

18   292 F.3d at 1074, 1076.

19           Defendants’ related argument that the term “entities” and “entity” found at 45 C.F.R.

20   § 92.3 is similarly limited to mean only a named defendant is equally unavailing. See T.W. v. N.Y.

21   State Bd. of L. Exam’rs, 996 F.3d 87, 89 (2d Cir. 2021) (finding that under Section 504, defendant

22   is amendable to suit where non-party entity is the “program or activity” receiving Federal financial

23   assistance). 45 C.F.R. § 92.3 provides, “As used in this part, ‘health program or activity’

24   encompasses all of the operations of entities principally engaged in the business of providing

25   healthcare that receive Federal financial assistance.” (emphasis added). While 45 C.F.R. § 92.3(b)

26   discusses “health program or activity” in terms of how that phrase applies to “entities,” it does so

27   in an illustrative manner, not as a definition of “health program or activity.” See id. (using the term

28   “encompasses” to clarify what operations of an entity are potentially subject to Section 1557); see

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 1   also, cf. 29 U.S.C. § 794(b) (using the terms “defined” and “means” to construe the term “program

 2   or activity” under Section 504). In addition, 45 C.F.R. § 92.3(b) does not purport to restrict the

 3   terms “entities” or “entity” to apply only to a party that has been subjected to suit under Section

 4   1557. Even if that was what the regulation attempted to do, such an interpretation would be

 5   inconsistent with the plain meaning of Section 1557.

 6           CVS Caremark’s reading of Section 1557 and relevant associated HHS regulations would

 7   also produce anomalous results. Just as CVS Caremark claims that no “entity” is subject to Section

 8   1557 if one entity invents a discriminatory program, another entity implements it, and another entity

 9   receives federal financial assistance, any organization that receives federal financial assistance

10   could exempt itself from Section 1557 by creating a subsidiary system where one subsidiary creates

11   discriminatory policies but does not provide healthcare, another subsidiary provides healthcare and

12   carries out the discriminatory policies but does not create them, and another subsidiary receives

13   federal financial assistance. Such a regime (which is precisely how Defendants apparently claim to

14   operate) would be inconsistent with the well-recognized broad scope of Section 1557, as well as

15   Title VI of the Civil Rights Act of 1964, Title IX of the Education Amendments of 1972, the Age

16   Discrimination Act of 1975, and Section 504 of the Rehabilitation Act, which all contain nearly

17   identical language.

18           V.      If the Court Identifies Any Infirmities in the Allegations of Federal Financial
                     Assistance, It Should Grant Plaintiffs Leave to Amend.
19
             Under Federal Rule of Civil Procedure 15, courts are to liberally grant leave to amend a
20
     Complaint to address any infirmities the Court may identify in the allegations. Thus, leave to amend
21
     should be granted “‘unless it appears beyond doubt’ that the amended pleading ‘would also be
22
     dismissed for failure to state a claim.’” Crown Energy Servs., Inc. v. Zurich Am. Ins. Co., No. 19-
23
     cv-06334-EMC, 2021 WL 2207348, at *5 (N.D. Cal. June 1, 2021) (Chen, J.) (quoting DCD
24
     Programs, Ltd. v. Leighton, 833 F.2d 183, 188 (9th Cir. 1987)); see also Lopez v. Smith, 203 F.3d
25
     1122, 1127 (9th Cir. 2000) (same).
26
             To be clear, it is Plaintiffs’ position that no additional specificity is needed to plausibly
27
     allege receipt of federal financial assistance for all the reasons stated above, including that CVS
28
     Health Corporation has already admitted that CVS Pharmacy, Inc. is in receipt of federal financial
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 1   assistance. See SAC ¶ 152. However, if the Court believes more detail is required as to the

 2   allegations of Federal financial assistance, Plaintiffs request leave to amend the Complaint after an

 3   appropriate opportunity for discovery. For example, discovery would show which entities falling

 4   under the CVS Health Corporation umbrella for pharmacy services receive Federal financial

 5   assistance, since this information is not publicly reported on a subsidiary-by-subsidiary level. See

 6   Sternberg Decl. ¶ 1.

 7                                             CONCLUSION

 8           The Court should deny Defendants’ Motion to Dismiss the SAC or alternatively grant

 9   Plaintiffs leave to amend the Complaint to address any infirmities the Court may identify after an

10   appropriate opportunity for discovery.

11   DATED: March 31, 2022                                   CONSUMER WATCHDOG

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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on March 31, 2022, I authorized the electronic filing of the foregoing

 3   with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 4   to the email addresses denoted on the attached Electronic Mail Notice List.

 5          I certify under penalty of perjury under the laws of the United States of America that the

 6   foregoing is true and correct. Executed on March 31, 2022.

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